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 1    HILARY POTASHNER (No. 167060)
      Federal Public Defender                                            FILED
 2   (E-mail: Hilary_Potashner@fd.org)
                            (No.       )
 3    Deputy Federal Public Defender
 4   (E-mail:                          )
      3801 University Ave, Suite 700
 5    Riverside, California 92501
      Telephone (951) 276-6346
 6    Facsimile (951)276-6368
 7    Attorneys for Defendant
 8
9                              UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
10                              EASTERN DIVISION
]1
12    TJNITED STATES OF AMERICA,
                    Plaintiff,
13                                                        Assertion of Fifth and Sixth
14                                                        Amendment Rights
                     v.
15
        ~anr.;c~ K~~-~ ~aP1ar ~ ~
16                         Defendant
17
             I,the above-named defendant, hereby assert my Fifth and Sixth Amendment
18    rights to remain silent and to have counsel present at any and all of my interactions with
19    the government or others acting on the government's behalf. I do not wish to, and will
      not, waive any of my constitutional rights except in the presence of counsel. I do not
20
      want the government or others acting on the government's behalf to question me, or to
21    contact me seeking my waiver of any rights, unless my counsel is present.
22
23
     ( fenda is Signature)                   Att rn 's Name/Signature
24
25
      Date/Time                              '.~ ~       a.m./ .m.
26
27    Interpreter:
28
                                                     1
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  If the defendant is not English speaker, include the following:


         I,the above-named defendant, hereby assert my Fifth and Sixth Amendment
  rights to remain silent and to have counsel present at any and all of my interactions with
 the government or others acting on the government's behalf. I do not wish to, and will
  not, waive any of my constitutional rights.except in the presence of counsel. I do not
  want the government or others acting on the government's behalf to question me, or to
 contact me seeking my waiver of any rights, unless my counsel is present.


         I,                    , am fluent in written and spoken English and
 languages. I accurately translated this Assertion of Fifth and Sixth Amendment Rights
 from English into                     to the defendant                  , on this date.


 Date:
                                            Interpreter




                                              2
